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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 URBAN AIR INITIATIVE, INC., et al.,

                            Plaintiffs,

       v.                                           Civil Action No. 15-1333 (ABJ)

 ENVIRONMENTAL PROTECTION
 AGENCY,

                            Defendant.


                      JOINT STIPULATION OF DISMISSAL

   Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs Urban Air Initiative and

Energy Future Coalition (collectively, “Plaintiffs”) and Defendant Environmental

Protection Agency (“EPA”) stipulate that this action be dismissed with prejudice.

   The parties further stipulate that Plaintiffs reserve their right to seek

reasonable attorneys’ fees and costs in accordance with 5 U.S.C. § 552(a)(4)(E) and

Fed. R. Civ. P. 54(a)(2) and that Defendant reserves its right to oppose Plaintiffs’

request for fees.




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February 11, 2019                       Respectfully submitted,

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